Case 1:99-cV-01268-.]DB-tmp Document 88 Filed 06/09/05 Page 1 of 4 Page|D 85

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UN]TED STATES DISTRICT COURT "`"` ‘("'
WESTERN DISTRICT OF TENNESSEE 95 JUH -g FH tr
EASTERN DIVISION AT JACKsoN ' 35
{fOBEFfT€' f"§ v"}
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ALCUR“S» ) sr state
) -1:3`
Plaintiff )
)
v. ) Case No. 99-] 268 Bre/P
)
CORRECTIONS CORPORATION OF )
AMERICA, et al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the paities have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Ccurt, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Ccnference on June 24, 2005.

/_`
Dated: this Oi day of J 0 P“L , 2005.

`CP€W.J

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UNITED STATES 'B'I'S‘PRI-€-'¥ JUDGEm

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Case 1:99-cV-01268-.]DB-tmp Document 88 Filed 06/09/05 Page 2 of 4 Page|D 86

APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 2351 . Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on Jun , 2005.

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Attomeys for Defendants

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 1:99-CV-01268 Was distributed by faX, mail, or direct printing on
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Honorable .l. Breen
US DISTRICT COURT

